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    Source1                                                        Footnote     Previous Use         Filings             and/or Immaterial2
    Della Porta, Donatella and Michael Keating. Approaches           1-3                                                 Not cited as evidence
    and Methodologies in the Social Sciences. Cambridge
    University Press. 2008
    Order by Judge Brian M. Cogan resulting from Daubert              4                                                  Hearsay
    hearing for Evan Kohlmann. United States v. Adnan
    Ibrahim Harun A Hausa. U.S. District Court for the Eastern
    District of New York (EDNY). February 10, 2017
    Saudi Basic Law of Governance                                    5, 7                            Kreindler Ex. 73
    Final Report of the National Commission on Terrorist         6-7, 281, 285, Averment             Rapawy Exs. 1-3
    Attacks upon the United States [“9/11 Report”]                288, 290-91
    King Fahd’s Speech on the Issuance of the Basic Law of            8                              Kreindler Ex. 74
    Governance
    Declaration of Abdulaziz H. al Fahad (ECF No. 85-3)          9, 13-14, 51   ECF No. 85-3;        Kreindler Ex. 155   Hearsay, FRE 602
                                                                                Aver. Ex. 119
                                                                                (ECF No. 2930)
    Interview with General Manager for External Relations in          10        Affirm. of Sean P.
    the Ministry of Islamic Affairs, Abdul Majid bin                            Carter, Ex. 15
    Muhammad Al Omari                                                           (ECF No. 2927-15)




1
 Document descriptions, other than bracketed text indicating commonly-used short-form descriptors, are taken directly from the Affirmation.
Their use is for convenience only and should not be taken as a concession that the descriptions are accurate.
2
 Defendant’s objections to the cited documents are made for purposes of the pending motion to dismiss. Defendant reserves the right to move to
exclude, or to assert additional objections, in the event that any party seeks to admit any of the cited documents into evidence in any future
proceeding.

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ECF No. 2927-16                                                    11         Affirm. of Sean P.
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http://www.moia.gov.sa/eng/Menu/Pages/About.aspx                   12                                                 Document has not been
                                                                                                                      filed and is not
                                                                                                                      available
http://www.mofa.gov.sa/sites/mofaen/EServ/VisitingSaudi            15                                                 Document has not been
Arabia/aboutKingDom/Pages/ServingIslam36145.aspx                                                                      filed and is not
                                                                                                                      available
http://www.mohe.gov.sa/en/studyinside/aboutKSA/Pages/se            15                                                 Document has not been
rvice-of-lslam-and-                                                                                                   filed and is not
Muslims.aspx?AspxAutoDetectCookieSupport=1                                                                            available
(alternatively listed as
http://www.mohe.gov.sa/ar/studyinside/
aboutksa/pages/service-of-islam-and-muslims.aspx?aspx
autodetectcookiesupport=1)
http://embassies.mofa.gov.sa/sites/NewZealand/AR/About             16                                                 Document has not been
Kingdom/KingdomAchievments/Pages/default.aspx                                                                         filed and is not
                                                                                                                      available
Lecture of Sheikh Saleh bin Abdel Aziz Al Sheikh,                  17         Affirm. of Sean P. Kreindler Ex. 164
Minister of Religious Affairs, Efforts of the Servant of the                  Carter, Ex. 13
Two Holy Mosques in Advocacy and the Service of Islam                         (ECF No. 2927-13)
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Declaration of Dr. Mutlib bin Abdullah al Nafissa, Member      18, 258, 262   ECF No. 141-5;
of the Council of Ministers, January 31, 2004. (03-md-                        Aver. Exs. 1, 222
1570, ECF No. 141-5, Exh 222 in Index of Evidence)                            (ECF No. 2930)




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Affidavit of Khalid bin Obaid Azzahri, ECF No. 104-2          19, 147      ECF No. 104-2;   Kreindler Ex. 87    Hearsay, FRE 602
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Testimony of Arafat El Asahi, Minister of Citizenship and   20, 36, 84-85, Aver. Ex. 122    Kreindler Ex. 182   Hearsay, Preliminary
Immigration v. Mahmoud Jaballah, Federal Court of            90, 96, 113 (ECF No. 2930)                         investigative material
Canada, Docket DES-6-99 (03-md-1570, Exh 122 in Index
of Evidence); “Reasons for Order.” The Minister of
Citizenship and lmmigration and Mahmoud Jaballah.
Docket: DES-6-99. Federal Court of Canada. November 2,
1999.
Declaration of Mutaz Saleh Abu Unuq, Apr. 1, 2003           21, 193, 196, Aver. Ex. 178     Kreindler Ex. 226   Hearsay, FRE 602
(Burnett v. Al Baraka Inv. & Dev. Corp., Dkt. No.              217-18     (ECF No. 2930)
1:02cv01616 (D.D.C.)
Declaration of Abdulrahman A. Al-Suwailem, Jan. 10,          22, 271-76    ECF No. 631-3;   Kreindler Ex. 248   Hearsay
2005, ECF No. 631-3                                                        Aver. Ex. 247
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Declaration of Abdul Rahman AI Swailem, Apr. 2, 2004,       23, 244, 247   ECF No. 96-2;                        Hearsay
ECF No. 96-2 (Exh. 240 in Index of Evidence)                               Aver. Ex. 240
                                                                           (ECF No. 2930)
“Saudi Arabian Information Resources: Muslim World            24, 293                                           Document has not been
League.” http://www.saudinf.com/main/k312.htm. March                                                            filed and is not
1, 2003                                                                                                         available
Al-Rasheed, Madawi. A History of Saudi Arabia.                  25                                              Document has not been
Cambridge University Press; © 2002                                                                              filed and is not
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Defendant Muslim World League’s Answer to Plaintiffs         26       Aver. Ex. 123                        Hearsay, FRE 602
First Amended Complaint. In Re: Terrorist Attack on                   (ECF No. 2930)
September 11, 2001 (Federal Insurance Company et al. v.
Al-Qaida et al.). United States District Court for the
Southern District of New York. Case No: 02 CV 6978
(RCC)
http://www.wamy.org/english/conferences/speech3.htm.         27                                            Document has not been
July 1, 2003                                                                                               filed and is not
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“More Dynamic Role for MWL: Dr. Abdullah Omar               28, 38    Aver. Ex. 121    Haefele Ex. 97      Hearsay, FRE 602
Nasseef.” The Muslim World League Journal. Vol. 11; Nos.              (ECF No. 2930)
5 and 6. Jumada I&II 1404 (February-March 1984). Mecca,
Saudi Arabia.
“About the Muslim World League.”                           29, 294                                         Document has not been
http://www.arab.net/mwl/about.htm                                                                          filed and is not
                                                                                                           available
“At the Opening of the Muslim World League Meeting:        30, 295                                         Document has not been
The Custodian of the Two Holy Places Calls for Islamic                                                     filed and is not
Solidarity to Overcome Obstacles.” Ain al-Yaqeen.                                                          available
December 15, 1997
http://www.saudiembassy.net/gov_profile/consult.html        31-32                      Kreindler Ex. 168
http://www.saudia-online.com/Shura%20Council.htm             33                                            Document has not been
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Declaration of Ali Muhammad al-Kamal, Manager for               34, 44       Aver. Ex. 118    Kreindler Ex. 165   Hearsay
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Declaration of Abdullah Bin Saleh al-Obaid. Thomas              35, 83        ECF No. 98-2;   Kreindler Ex. 153   Hearsay
Burnett et al. v. Al Baraka Investment and Development                       Aver. Ex. 120
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District of New York. 03 CV 9849 (RCC)
MWL 05138                                                         37                          Haefele Ex. 9T      Hearsay
JT-MWL 00127                                                      37                          Haefele Ex. 1T      Hearsay
Al-Alam Al-Islami, July 27th 1992                                 39                          Haefele Ex. 44T     Hearsay, FRE 602
Al-Alam Al-Islami, February 3rd 1992                              40                          Haefele Ex. 42T     Hearsay
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MWL 005346                                                        41                          Haefele Ex. 10T     Hearsay
MWL 005354-55                                                     41                          Haefele Ex. 12T     Hearsay
MWL 005350-51                                                     41                          Haefele Ex. 11T     Hearsay
MWL 058868                                                    42, 76, 139,                    Haefele Ex. 36T     Hearsay
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Monthly Newsletter of the Royal Saudi Embassy in                  43                                              Document has not been
Washington D.C. March 1997.                                                                                       filed and is not
http://www.saudiembassy.net/publications/                                                                         available
news_letter/NL_97/nl_97_03.html
MWL 008574                                                        45                          Haefele Ex. 20T     Hearsay
MWL 051264                                                        45                          Haefele Ex. 29T     Hearsay

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MWL 051698                                             45, 75                    Haefele Ex. 31T     Hearsay
Letter from Saudi Foreign Minister Saud al-Faisal       45, 48                                       Document has not been
                                                                                                     filed and is not
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IIRO 284220                                              45                      Haefele Ex. 68T     Hearsay
IIRO 284221                                              45                      Haefele Ex. 68T     Hearsay
IIRO 284223                                              45                      Haefele Ex. 68T     Hearsay
MWL 058614                                               46                      Haefele Ex. 32T     Hearsay
MWL 051339                                               49                      Haefele Ex. 40T     Hearsay
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MWL regulations as published by the MWL Constituent     53-61                                        Document has not been
Council (April 10-11, 2002)                                                                          filed and is not
                                                                                                     available
MWL 059176                                               62                      Haefele Ex. 81T;    Hearsay
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MWL 059172                                               63                      Haefele Ex. 37T;
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IIRO 287458-63                                                 64                        Haefele Ex. 52T    Hearsay
MWL 030818                                                     64                        Haefele Ex. 28T    Hearsay
Letter from Foreign Minister Saud Al-Faisal to Chief of       65, 75                     Haefele Ex. 72T
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Letter from Saudi Foreign Minister Saud Al-Faisal to MWL      65, 75                     Haefele Ex. 74T
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MWL 039323                                                     66                        Haefele Ex. 86T    Hearsay
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JT-MWL 00530                                                   68                        Haefele Ex. 3T     Hearsay, FRE 602
Letter from MWL Secretary General Turki to Minister of         68                                           Document has not been
Foreign Affairs                                                                                             filed and is not
                                                                                                            available
MWL 052935                                                     69                        Haefele Ex. 47T    Hearsay
MWL 069959-60                                                  69                        Haefele Ex. 88T    Hearsay
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MWL 069963                                                         69                      Haefele Ex. 91T    Hearsay
MWL 069984                                                         69                      Haefele Ex. 93T    Hearsay
MWL 069986                                                         69                      Haefele Ex. 94T    Hearsay
MWL 051310                                                         70                      Haefele Ex. 48T    Hearsay
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IIRO 280442                                                        71                      Haefele Ex. 49T
Letter from MWL Secretary General Turki to Minister of             71                      Haefele Ex. 73T    Hearsay
Foreign Affairs
IIRO 280172-78                                                     72                      Haefele Ex. 23T    Hearsay
Letter from Foreign Minister Saud al-Faisal to the Secretary       72                                         Document has not been
of the Saudi King, with a copy to the King                                                                    filed and is not
                                                                                                              available
JT-MWL 00482                                                       73                      Haefele Ex. 2T
MWL 007033-42                                                     73-74                    Haefele Ex. 19
JT-MWL 00645                                                      73, 75                   Haefele Ex. 4T     Hearsay, FRE 602
MWL 052523                                                         73                      Haefele Ex. 34T    Hearsay
MWL 052287                                                         73                      Haefele Ex. 35T    Hearsay
JT-MWL 04556-57                                                    74                      Haefele Ex. 7T     Hearsay, FRE 602
MWL 051436                                                         74                      Haefele Ex. 30T    Hearsay
Al Jazeera, Order for Financial Assistance (July 31, 2001)         75                      Haefele Ex. 8T     Hearsay, FRE 602
(available at http://archive.al-jazirah.com.sa/2001jaz/jul/31/
fr2.htm)

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IIRO 096108                                                         77                           Haefele Ex. 39T     Hearsay
IIRO 096075-76                                                      77                           Haefele Ex. 39T     Hearsay
IIRO 096114                                                         77                           Haefele Ex. 39T     Hearsay
MWL 056784                                                          78                           Haefele Ex. 38T     Hearsay
MWL 023251-23252                                                    78                           Haefele Ex. 79T     Hearsay, FRE 602
MWL 015878                                                          79                           Haefele Ex. 77T     Hearsay
MWL 015876                                                          79                           Haefele Ex. 76      Hearsay, FRE 602
Ahmed, Iftikhar. “Counter anti-Islam propaganda, says               80                                               Document has not been
MWL sec-general.” Moneyclips. May 6, 1995                                                                            filed and is not
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“IIRO – Welcome.” http://www.arab.net/iiro                          81                                               Document has not been
                                                                                                                     filed and is not
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Declaration of Saleh Abdullah Al Saykhan, Manager of             82, 87, 95     Aver. Ex. 135    Kreindler Ex. 167   Hearsay
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States District Court for the District of Columbia. Civil
Action No. 1:02CV01616
“Annual Report: 2001-2002.” International Islamic Relief       86, 98, 107-08                                        Document has not been
Organization (Muslim World League). The Kingdom of                                                                   filed and is not
Saudi Arabia                                                                                                         available
“Memo to the External Offices Managers.” March 16, 1999.        88, 114-19      Aver. Ex. 134                        FRE 901
IIRO in the Saudi Arabian Kingdom; the Secretary                                (ECF No. 2930)
General’s Office. Department: 1729



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Defendant International Islamic Relief Organization’s             89         Aver. Ex. 133                       Hearsay, FRE 602
Amended Answer to Plaintiffs First Amended Complaint.                        (ECF No. 2930)
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http://www.dod.gov/pubs/foi/operation_and_plans/Detainee      91, 330, 411                                       Document has not been
/csrt_arb/Set_44_2922-3064.pdf                                                                                   filed and is not
                                                                                                                 available
http://www.dod.mil/pubs/foi/operation_and_plans/Detainee      92, 416-417                                        Document has not been
/csrt_arb/ARB_Transcript_Set_7_20497-20750.pdf                                                                   filed and is not
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http://www.dod.gov/pubs/foi/operation_and_plans/Detainee          93                                             Document has not been
/csrt_arb/Set_15_1318-1362.pdf                                                                                   filed and is not
                                                                                                                 available
http://www.defenselink.mil/pubs/foi/detainees/csrt/ARB_Tr         94                                             Document has not been
anscript_Set_2_585-768.pdf                                                                                       filed and is not
                                                                                                                 available
IIRO 227909-10                                                    95                          Haefele Ex. 21T    Hearsay, FRE 901
IIRO 277919                                                       95                          Haefele Ex. 22T    Hearsay
“Prince Salman Opens Fundraising Campaign for IIRO.”              97                                             Document has not been
Info-Prod Research (Middle East) Ltd. – Middle East News                                                         filed and is not
Items. February 28, 1995                                                                                         available
“Islamic Intn’I Relief Organization receives SR12m for            99                                             Document has not been
Bosnia fund.” The Saudi Gazette. February 11, 1993                                                               filed and is not
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Bashir, Abdul Wahab. “IIRO raises SR15m in-funds.” Arab          100                                          Document has not been
News. December 22, 1993                                                                                       filed and is not
                                                                                                              available
“Saudis back fund-raising for Bosnian Muslims.” The Saudi        101                                          Document has not been
Gazette. February 26, 1994                                                                                    filed and is not
                                                                                                              available
Hassan, Javid. “Riyadh Governor Prince Salman donates            102                                          Document has not been
SR1m to IIRO.” Arab News. February 23, 1994                                                                   filed and is not
                                                                                                              available
“IIRO marks eight anniversary.” Riyadh Daily. January 12,        103                                          Document has not been
1995                                                                                                          filed and is not
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Saberi, Mahmood. “SR8 million raised for IIRO at Sanabel         104                                          Document has not been
Al-Khair drive.” Saudi Gazette. February 23, 1995                                                             filed and is not
                                                                                                              available
Awkasho, Rashad. “SR6m raised in three hours at Sanabel          105                                          Document has not been
Al-Khair drive.” Saudi Gazette. February 5, 1996                                                              filed and is not
                                                                                                              available
Khan, M. Ghazanfar Ali. “SR6m collected at Sanabel Al-           106                                          Document has not been
Khair.” Arab News. December 24, 1998                                                                          filed and is not
                                                                                                              available
Virginia Secretary of State, Corporate Record, International     109                                          Document has not been
Relief Organization and International Islamic Relief                                                          filed and is not
Organization                                                                                                  available
http://www.saudiembassy.net/gov_profile/shura00.html.            109                                          Document has not been
November 6, 2002                                                                                              filed and is not
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ICE interview of Soliman Biheiri by S.A. David Kane. June     110                                           Document has not been
15, 2003                                                                                                    filed and is not
                                                                                                            available
Application for Recognition of Exemption under Section      111-12                                          Document has not been
501(c)(3) of Internal Revenue Code. International Relief                                                    filed and is not
Organization, Inc. October 25, 1991                                                                         available
IIRO 277332-33                                                120                       Haefele Ex. 66T     Hearsay
IIRO 277336                                                   120                       Haefele Ex. 66T     Hearsay
IIRO 338581                                                   121                       Haefele Ex. 80T     Hearsay
IIRO 338582                                                   121                       Haefele Ex. 80T     Hearsay
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IIRO 338585                                                   121                       Haefele Ex. 80T     Hearsay
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IIRO 284811                                                   123                                           Document has not been
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IIRO 284663                                                 123, 126                    Haefele Ex. 25T;    Hearsay
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IIRO 285033                                                      137                       Haefele Ex. 69T     Hearsay
IIRO 112079                                                      138                       Haefele Ex. 71T     Hearsay
IIRO 285013                                                      140                       Haefele Ex. 24T     Hearsay
IIRO 000199                                                      141                       Haefele Ex. 100T    Hearsay
IIRO 001185                                                      142                       Haefele Ex. 78T     Hearsay
“Saudi Arabia’s top Islamic charity denies any of its assets   144, 361                                        Document has not been
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AH 00599                                                      145                         Haefele Ex. 101T   Hearsay
http://www.alharamain.org/alharamain/eng/inner.asp?order    146, 373                                         Document has not been
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http://www.alharamain.org/english/ourobjectives.htm.       146, 158-59                                       Document has not been
January 27, 2002                                                                                             filed and is not
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Roth, John, Douglas Greenburg, and Serena Wille.            148, 180     Aver. Ex. 198                       Hearsay, FRE 602,
“Monograph on Terrorist Financing: Staff Report to the                   (ECF No. 2930)                      Preliminary
Commission.’’ National Commission on Terrorist Attacks                                                       investigative material
upon the United States
“How Jihad Made Its Way to Chechnya Secular Separatist      149, 378     Aver. Ex. 196                       Hearsay
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Washington Post. April 26, 2003
“REPORT NO: 12 - A Letter of Commendation.” Report            150                                            Document has not been
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Letter from Lynne Bernabei (Bernabei & Katz, PLLC) to R.      152                                            Document has not been
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http://www.alharamain.org/alharamain/eng/inner.asp?order        153                                           Document has not been
=1&num=1. April 2003                                                                                          filed and is not
                                                                                                              available
“Interview with Aqil al-Aqil, general manager of the        154, 190, 362                                     Document has not been
charitable Al-Haramayn Foundation.” Al-Sharq al-Awsat                                                         filed and is not
(London). March 16, 2002                                                                                      available
“Prince Salman patronizes charity ceremony.” Saudi Press      155, 221                                        Document has not been
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Ain Al-Yaqeen. November 29, 2002                            156-57, 222-                                      Document has not been
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http://www.dod.gov/pubs/foi/detainees/csrt_arb/Set_4_032        160                                           Document has not been
0-0464.pdf                                                                                                    filed and is not
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http://www.dod.gov/pubs/foi/detainees/csrt_arb/Set_26_18        161                                           Document has not been
48-1900.pdf                                                                                                   filed and is not
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http://www.dod.gov/pubs/foi/detainees/csrt_arb/Set_49_32       162-63                                         Document has not been
98-3380_Revised.pdf                                                                                           filed and is not
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“Additional Al-Haramain Branches, Former Leader                 165, 178     Aver. Ex. 204    Kreindler Ex. 91   Hearsay, FRE 602
Designated by Treasury as Al Qaida Supporters; Treasury                      (ECF No. 2930)
Marks Latest Action in Joint Designation with Saudi
Arabia.” Office of Public Affairs; U.S. Treasury
Department. June 2, 2004
http://alsaha.fares.net. June 25, 2003. As cited in U.S.         166-69                                          Document has not been
Treasury public document recovered on March 24, 2004                                                             filed and is not
(PUBLIC-AR0258 to PUBLIC-AR0269)                                                                                 available
“Head of Al-Haramayn Charity Foundation Dismissed.” Al-           170                                            Document has not been
Hayat. January 8, 2004                                                                                           filed and is not
                                                                                                                 available
“Power of Attorney” document signed by Aqeel Bin Abdel-           171                         Haefele Ex. 95     Hearsay
Aziz Al-Aqeel on behalf of “Al-Haramain Islamic
Foundation; Head Office – Riyadh” dated October 22, 1997
(AHIF 000914)
Affidavit by I.R.S. Special Agent Colleen Anderson in          172, 181-84                    Haefele Ex. 96     Hearsay, FRE 602,
support of search warrant application for 3800 S. Highway                                                        Preliminary
99, Ashland, Oregon dated February 23, 2004. United                                                              investigative material
States District Court; District of Oregon (AHIF 001537)
Letter from Thomas J. Wilcox, CPA to Jennifer Nicolin             173                                            Document has not been
#95152, Internal Revenue Service, re: “Al-Haramain                                                               filed and is not
Islamic Foundation Inc. #XX-XXXXXXX.” Dated August 17,                                                           available
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Defendant Al-Haramain Islamic Foundation, Inc.’s                 174-75                                          Document has not been
Responses to Plaintiffs’ Interrogatories.” Thomas Burnett et                                                     filed and is not
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Al-Haramain Islamic Foundation (Ashland, Oregon).             176-77                                           Document has not been
“Monthly Report: August 1999.” Signed by “Abu Yunus,                                                           filed and is not
Director, Ashland Office of Al-Haramain Islamic                                                                available
Foundation, U.S.A.”
“Designation of AL-HARAMAIN FOUNDATION (AHF)                    179        Aver. Ex. 205                       Hearsay, FRE 602
branches in Afghanistan, Albania, Bangladesh, Ethiopia,                    (ECF No. 2930)
and The Netherlands, and AHF’s leader AL-AQIL pursuant
to the authorities of E.O. 13224.” Memorandum for R.
Richard Newcomb, Director, Office of Foreign Assets
Control (U.S. Treasury Department). Dated: June 2, 2004
Al-Haramain Islamic Foundation (Ashland, Oregon).               185                                            Document has not been
“Emergency Proposal Regarding Repairs to the Electrical                                                        filed and is not
System in the Ashland Office’s Masjid.” Dated: May 5,                                                          available
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Letter from Pete Seda-Ghaty (a.k.a. “Abu Yunus”) to             186                                            Document has not been
Soliman Albuthe (a.k.a. “Brother Soliman”). “Distribution                                                      filed and is not
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Letter from Pete Seda-Ghaty (a.k.a. “Abu Yunus                  187                                            Document has not been
Sedaghaty”) to Shaykh Aqeel al-Aqeel. “Urgent relief for                                                       filed and is not
Afghani refugees.” Dated: October 21, 2001                                                                     available
Letter from Pete Seda-Ghaty (a.k.a. “Abu Yunus”) to “the        188                                            Document has not been
USA Committee in Riyadh.” “Expanding Da’wa Efforts.”                                                           filed and is not
Dated: October 27, 2002                                                                                        available
Affidavit of Al-Haramain Islamic Foundation “General            189                                            Document has not been
Manager” Aqeel al-Aqeel. Dated: December 31, 2003                                                              filed and is not
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IIRO 277786-87                                              65, 75, 131,                    Haefele Ex. 83T
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http://www.wamyusa.org/publications/islaam_at_glance.ht       194                                          Document has not been
m                                                                                                          filed and is not
                                                                                                           available
http://www.wamyusa.org/about.about%20wamy.htm                 195                                          Document has not been
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http://www.wamy.org/index.cfm?method=home.conPrint&           198                                          Document has not been
contentid=17&fa=Content&simple=0                                                                           filed and is not
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“WAMY Team in Afghanistan Risks Life to Deliver Aid.”         199                                          Document has not been
Middle East Newsfile. November 20, 2001                                                                    filed and is not
                                                                                                           available
“Reports Link Charity to an Al-Qaeda Front.” Wall Street      200                                          Document has not been
Journal. September 20, 2003                                                                                filed and is not
                                                                                                           available
“WAMY chief Johani dies in car crash.” Arab News.           201, 203                                       Document has not been
August 5, 2002                                                                                             filed and is not
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“Dr. Maneh Al-Johani – WAMY Chief Dies in Car                 202                                          Document has not been
Mishap.” Riyadh Daily. August 5, 2002                                                                      filed and is not
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http://www.iiasa.org/researchcenter/symposium.htm             204                                          Document has not been
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Source                                                      Footnote     Previous Use   Filings            and/or Immaterial
“Jordan’s Prince Ghazi Addresses Muslim Youth                 205                                          Document has not been
Conference.” Amman Times. October 21, 1998                                                                 filed and is not
                                                                                                           available
“Saudi Crown Prince Receives Dignitaries, says Islam        206-07                                         Document has not been
Targeted.” BBS. November 2, 2002                                                                           filed and is not
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WAMYSA 2683                                                   208                       Haefele Ex. 63T
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WAMYSA 2973                                                   208                       Haefele Ex. 16T    Hearsay
February 11, 2000 WAMY “Offices Regulations” approved       209-15,                                        Document has not been
by WAMY Board of Trustees in Riyadh. WAMY Control           235-37                                         filed and is not
Docs.pdf                                                                                                   available
Al-Jazirah (Riyadh). January 12, 2001                         216                                          Document has not been
                                                                                                           filed and is not
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“Salman donates SR1.5m in a Major Fund-Raising Event.”        219                                          Document has not been
Middle East Newsfile. December 16, 2001                                                                    filed and is not
                                                                                                           available
“Fund Raising Event Generates SR6.5 million.” Middle          220                                          Hearsay, FRE 602
East Newsfile. November 29, 2001
“European and Canadian pilgrims arrive in Jiddah.” Saudi      225                                          Hearsay, FRE 602
Press Agency. June 2, 2003
“Copies of the Holy Quran to be distributed.” Saudi Press     226                                          Document has not been
Agency. March 31, 2001                                                                                     filed and is not
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Islamic Views. Saudi Armed Forces Printing Press           227-28                                           Document has not been
                                                                                                            filed and is not
                                                                                                            available
http://www.wamyusa.org/About/serverd_by_wamy.htm             229                                            Document has not been
                                                                                                            filed and is not
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http://www.wamyusa.org/About/social_economic_uplift.ht       230                                            Document has not been
m                                                                                                           filed and is not
                                                                                                            available
http://www.wamy.co.uk/bd_contact.htm                         231                                            Document has not been
                                                                                                            filed and is not
                                                                                                            available
http://www.buraydahcity.net/vb/showpost.php?s=837f02cf3      234                                            Document has not been
010abbe8aab392e113ea14c&p=893992&postcount=6                                                                filed and is not
                                                                                                            available
“Audit of the World Assembly of Muslim Youth.” Letter to   238-39       Aver. Ex. 190                       Hearsay, FRE 602,
World Assembly of Muslim Youth, 70-3024 Cedarglen                       (ECF No. 2930)                      Preliminary
Gate, Mississauga ON L5C 4S3. Canada Revenue Agency                                                         investigative material
(CRA). Dated August 23, 2011
http://www.srca.org.sa/OurServices.aspx                     240-42                                          Document has not been
                                                                                                            filed and is not
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http://www.ifrc.org/docs/profiles/saprofile.pdf              243                                            Document has not been
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Second Affidavit of Abdul Rahman Al Swailem. In Re:               245        ECF No. 99-2;    Kreindler Ex. 249   Hearsay, FRE 602
Terrorist Attack on September 11, 2001 (Thomas E. Burnett                    Aver. Ex. 241
Sr. et al. v. Al Baraka Investment and Development                           (ECF No. 2930)
Corporation). United States District Court for the Southern
District of New York. Case No: 03 CV 9849 (RCC)
Hassan, Javid. “10,000 volunteers trained by SRCS: Al             246                                             Document has not been
Suwailem.” Arab News. June 16, 1999                                                                               filed and is not
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Videotaped interview of Shaykh Abdullah Azzam. 1989               248                                             Document has not been
                                                                                                                  filed and is not
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“Budget Statement from Ministry Of Finance.” Ministry of          249                                             Document has not been
Finance of the Kingdom of Saudi Arabia. December 29,                                                              filed and is not
1998                                                                                                              available
“Budget for Fiscal Year 2000.” Ministry of Finance and            250                                             Document has not been
National Economy of the Kingdom of Saudi Arabia.                                                                  filed and is not
December 20, 1999                                                                                                 available
“Budget for Fiscal Year 2002.” Ministry of Finance and            251                                             Document has not been
National Economy of the Kingdom of Saudi Arabia.                                                                  filed and is not
December 8, 2001                                                                                                  available
“Islamic Organizations in the Balkans.” A Joint Research      252, 263-64,                                        Document has not been
Project by the Governments of the United States and the       394, 403-07                                         filed and is not
United Kingdom. August 2003                                                                                       available
“US, Saudis Plan to Shut Down Charity’s Branches.” USA            253                                             Document has not been
Today. March 11, 2002                                                                                             filed and is not
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“Declaration of Saud bin Mohammad al-Roshood.” In re:            254-57,       Aver. Ex. 223                        Hearsay, FRE 602
“Terrorist Attacks on September 11, 2001.” United States         259-61        (ECF No. 2930)
District Court for the Southern District of New York; Case
No. 03-MDL-1570. Dated: February 17, 2004
“Relief aid committee set up for Chechen Muslims.” Al-             268                                              Document has not been
Madinah (Jeddah). December 4, 1999                                                                                  filed and is not
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“In Brief.” Ain al-Yaqeen. February 28, 2003                       269                                              Document has not been
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Muhammad, Basil. Al-Ansaru l’Arab fi Afghanistan. The         277, 296, 300,                                        Document has not been
Committee for Islamic Benevolence Publications; ©1991              302                                              filed and is not
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                                                                                                                    filed and is not
                                                                                                                    available
“Government’s Evidentiary Proffer Supporting the              279, 282-83,     Aver. Ex. 138    Kreindler Ex. 145   Hearsay, FRE 602,
Admissibility of Co-Conspirator Statements.” United States    346, 349-50,     (ECF No. 2930)                       Preliminary
of America v. Enaam M. Arnaout. United States District          352-55                                              investigative material
Court Northern District of Illinois, Eastern Division. Case
#: 02 CR 892. January 31, 2003
January 1996 CIA Report on “International Islamic NGOs”       280, 287, 327, Aver. Ex. 95       Kreindler Ex. 123   Hearsay, FRE 602,
and links to terrorism                                             391       (ECF No. 2930)                         FRE 901, Preliminary
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Affidavit by Senior Special Agent David Kane (Bureau of         280, 287, 327, Aver. Ex. 129                       Hearsay, FRE 602,
Immigration and Customs Enforcement, Department of                   391       (ECF No. 2930)                      Preliminary
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S. Biheiri. United States District Court for the Eastern
District of Virginia, Alexandria Division. Case #: 03-365-
A. August 14, 2003
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Militant Islamist Intended to Bomb 2 Consulates, Police                                                            filed and is not
Say.” The New York Times. January 21, 1999                                                                         available
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D’Entrainement.” Confidential memorandum issued by                                                                 filed and is not
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IslamicAwakening.com. http://www.as-
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“After Debriefing Report [on ABDUL HAKIM ALI                        290                                            Document has not been
HASHIM MURAD].” Philippine National Police Criminal                                                                filed and is not
Investigation Command; Camp Crame, Quezon City.                                                                    available
February 18, 1995 (1400hrs-1535hrs)




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Pallister, David and Jamie Wilson. “Muslim relief groups             292                                            Hearsay, FRE 602
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Sharaf-ad-din, Nabil. “Usama BinLaden - A Millionair[sic]         297, 300                                          Document has not been
Finances Extremism in Egypt and Saudi Arabia.” Rose Al-                                                             filed and is not
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/TAREEKHOSAMA/49/Tareekh Osama.121                                              (ECF No. 2930)                      FRE 901
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Designation of Wa’el Hamza Julidan.” September 6, 2002.
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News report by British Broadcasting Company (BBC).                   304                                            Document has not been
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Division. Case number: 02CR0414
“IIRO saves forty thousand Bosnians from starvation.”                310                                            Document has not been
Moneyclips. July 4, 1993                                                                                            filed and is not
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commander of the Ministry of Defense Security                                                               available
Administration Republic of Bosnia and Herzegovina. Army
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Department. Classified No. 258-33. September 14, 1994
lnterview with Randall Todd Royer (a.k.a. “lsmail Royer”)      312                                          Document has not been
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Established Pursuant to Security Council Resolution 780
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Structure of Osama Bin Laden, Al-Qaeda, Hamas and other
Jihadist Organizations in the United States.” Testimony
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Veterans Affairs and International Relations of the House
Committee on Government Reform. October 11, 2001
Vujicic, D. “Bombs in the Name of the Almighty: Part II.”      316                                          Document has not been
Vecernje Novosti (Belgrade). September 27, 2001                                                             filed and is not
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“Subject: ABDEL RAHMAN MAMDOUH – Operative                     317, 326                                       Document has not been
Data.” Internal memorandum from the BiH FMUP Special                                                          filed and is not
Detachment, Department for the Tuzla Canton; #12/2-3-                                                         available
356/04. Dated: April 5, 2005
Minutes of Austrian police interview with Sukarno Ali            318                                          Document has not been
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Fatih Hassanein. September 5, 1995                                                                            available
“Review of the Information on Activities of the Persons        319, 351,                                      Document has not been
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Guardian (London). June 16, 1994                                                                              filed and is not
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for U.S.” The Wall Street Journal. October 16, 2001                                                           filed and is not
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